Case 2:04-cv-03030-.]PI\/|-STA Document 6 Filed 06/23/05 Page 1 of 2 Page|D 8

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TERENCE LEE STOKES, JUDGMENT IN A CIVIL CASE

Plaintiff,
vi
SHELBY COUNTY, et al., CASE NO: 04-3030 Ml/An

Defendants.

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the

Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in
accordance with the Order of Dismissal entered June ZE§, 2005,
this case is DISMISSED.

APPROVED :

. m°Q.QQ.

\ P. MCCALLA
` TED STATES DISTRICT JUDGE

  
  

 

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DA E Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-03030 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

Terence Lee Stokes

SHELBY COUNTY CORRECTIONAL COi\/[PLEX
825 19

1045 Mullins Station Road

Memphis7 TN 38134

Honorable Jon McCalla
US DISTRICT COURT

